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                             MICHAEL MCCLINTON


          CONFIDENTIAL
               IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                        NORTHERN DIVISION
                                                            EXHIBIT 14
    ANGELA RUSSELL, AS ADMINISTRATRIX
    OF THE ESTATE OF JEREMY T. RUSSELL
    AND ON BEHALF OF THE WRONGFUL DEATH
    BENEFICIARIES OF JEREMY T. RUSSELL                          PLAINTIFF

    VS.                    CASE NO. 3:22-cv-294-HTW-LGI
    MANAGEMENT & TRAINING CORPORATION;
    MICHAEL MCCLINTON; ASHLEY RAY;
    MARCUS ROBINSON; ROXIE WALLACE;
    JACOB VIGLIANTE; JOHN AND JANE DOE
    CORRECTIONAL OFFICERS;
    VITALCORE HEALTH STRATEGIES, LLC;
    EVELYN DUNN; STACEY KITCHENS;
    WILLIAM BRAZIER; and
    JOHN AND JANE DOE MEDICAL PROVIDERS        DEFENDANTS

                 DEPOSITION OF MICHAEL MCCLINTON
              taken on Wednesday, January 11, 2023,
              commencing at approximately 9:23 A.M.
            at East Mississippi Correctional Facility
                      10641 Highway 80 West
                      Meridian, Mississippi

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    REPORTED BY:      CYNTHIA HARRIS, RPR, CCR #1828
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19
20
21
22   ALSO PRESENT VIA ZOOM:          JAMISON WILKINSON
23
24
25

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 1           CONFIDENTIAL
     say "control," that's the person that works the
                                                                      Page 31


 2   picket.    That means you're in the higher spot; you're
 3   looking down.      It gives you a better view of what you
 4   could see.
 5        But in camp 7 - because it's an acute unit, it's
 6   only like 14, 15 cells there - that person's down low.
 7   Everybody's there.
 8        And camp 7 was originally designed for -- let's
 9   say if COVID had came around, if medical became
10   overran with COVID inmates, housing unit 7 would give
11   them the ability to house 15 inmates.
12        Q.    Understood.       With control, that's somebody who
13   is watching the video camera?
14        A.    No.   That's someone that's watching the
15   officer walk around.         He's the eye -- let's say if the
16   officer's walking around and the officer's making his
17   rounds and another inmate somehow pops out of his door
18   and run over there and grab him, if I'm over here
19   looking this way, that person going to say, "Hey,
20   watch your back.         Watch your back.      Hey, guy in 512 is
21   out.    Turn around.       Turn around."      So that's your
22   eyes.
23        Q.    So that control position actually has direct
24   eyes on the camp support housing unit?
25        A.    Yes, sir.


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 1        Q.CONFIDENTIAL
                Or if the person is at that station.               If
                                                                     Page 32


 2   there's somebody at that station.
 3        A.    Yeah, somebody at that station.             You could sit
 4   there, and you would see all your cells.
 5        Q.    Could you see in the cells?
 6        A.    No, sir.      Them things is camera, camera,
 7   camera, camera, camera, camera -- no, sir, you got to
 8   get out and go walk.
 9        Q.    So let's talk about -- here, let's do this.
10              MR. BRAGG:      This will be 2.
11             (Exhibit 2 marked for identification.)
12   BY MR. BRAGG:
13        Q.    I'm going to hand you a document that's been
14   marked as Exhibit 2, and I'm going to hand you a pen,
15   too.   Do you recognize this document?             Is it an
16   accurate depiction of the camp support housing unit?
17        A.    Yes, sir.
18        Q.    All right.      Do you see the little square
19   that's marked "housing control"?
20        A.    Yes, sir.
21        Q.    Is that where the person who is assigned to
22   control is supposed to be?
23        A.    Yes, sir.
24        Q.    Okay.    Can you just put a "C" in that box
25   right there?


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                              MICHAEL MCCLINTON



 1         CONFIDENTIAL
          A.    Inside the big box itself like this, sir?
                                                                     Page 33


 2        Q.    Inside the housing control box where the
 3   control person would be assigned.
 4        A.    Yes.
 5        Q.    And you did mark that "C"; correct?
 6        A.    Yes, sir.
 7        Q.    So we talked about the first position under
 8   housing unit 7.      What's the second position?
 9        A.    Second position would be the floor -- the
10   floor.
11        Q.    What is that?
12        A.    That means that's the person that's going to
13   walk around and do -- You could walk around and
14   make -- make your rounds.
15        Inmate got to go to the shower.            You the one that
16   go out there, let him out, escort him to the shower.
17   Once you get him to the shower, you will actually lock
18   the -- lock the shower doors.
19        If he's going to the rec yard, you'll be the one
20   to take him out of the cell, unlock the rec yard door,
21   put him on the rec yard, shut the door behind you so
22   can't nobody get out there to him.
23        And you the one that make -- make your rounds.
24        Q.    Okay.    So you're the one that's sort of
25   actively dealing with the inmates?


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 1   blanket.CONFIDENTIAL
                  He can have his mat," but they make that
                                                                     Page 54


 2   call.     We're just there to carry it out.
 3        Q.     So there's a little more nuance for non-acute
 4   suicide watch?
 5        A.     I would -- I would have to look up the -- I
 6   would have to look at the verbiage of it to give you
 7   the exact answer.        But my answer to them -- I ask, "Is
 8   he one-on-one?      Can he have anything?"
 9        And they'll say, "No."
10        And if they say, "Yes, he can have a" --
11        I say, "Well, what can he have?"            And I'll make
12   sure that's what he gets.
13        Q.     So whenever someone's in suicide watch,
14   there's a conversation with correctional officers and
15   medical as to what the --
16        A.     The mental health staff will tell you exactly
17   what he can have.        And he'll remain that way until the
18   mental health staff either takes him off or upgrades
19   him, but they the ones that does that.
20        Q.     That makes sense.      So let's talk about camp
21   support now.
22        A.     Uh-huh.
23        Q.     Camp support, like suicide watch, the inmate
24   is alone in their cell.         There's nobody in the
25   inmate's cell with him.         Would you agree with that?


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 1           CONFIDENTIAL
     defecate in the cup and dash it on the officer, we'll
                                                                     Page 57


 2   write him an RVR for the assault, and I will place
 3   that offender on 72-hour property restriction.
 4        Now, when I put him on property restriction, he'll
 5   keep his boxers and T-shirt.
 6        Q.     But no bed sheet at that point?
 7        A.     No bed sheet, no nothing at that point.
 8        Q.     So you identified some sort of security
 9   reasons why somebody would be on property restriction.
10        A.     Right.    And that's somebody start a fire.
11   When they start a fire, they set their clothes on
12   fire.     That's the only thing they can set on fire
13   because of the steel cell.          So we take his property so
14   he has nothing to burn.
15        Q.     Are there any mental health reasons that
16   somebody would be on property restriction?
17        A.     Then they'd be one-on-one suicide.
18        Q.     Okay.    So if somebody's in camp support,
19   they're not on one-on-one suicide; agreed?
20        A.     No, sir.     No, sir.
21        Q.     And if there are mental health property
22   restrictions, that can only happen in the context of
23   one-on-one suicide; is that right?
24        A.     Excuse me, again, now?
25        Q.     So property restrictions that are a result of


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                              MICHAEL MCCLINTON



 1         CONFIDENTIAL
     a mental health order, that would only --
                                                                     Page 58


 2        A.    Property restriction as a result of a mental
 3   health order.      Mental heath, he's either going to be
 4   one-on-one suicide, or he's -- they're going to say
 5   he's limited to what he can have, but that's coming
 6   directly from medical.
 7        If security -- if I place him on one, that means
 8   he done, done something, like I said previously.
 9        Q.    Right.
10        A.    He done started a fire.         So if I take the
11   property, he ain't got nothing to burn.
12        But what we don't do is we don't take -- we don't
13   give him a shroud and have him just a shroud.                 Medical
14   has to authorize the complete one-on-one suicide.
15        Myself, as a captain or a major, cannot say, "This
16   guy's going on one-on-one suicide."
17        Q.    Okay.    Has there ever been a situation where
18   medical authorized a property restriction, but the
19   inmate was not placed on one-on-one suicide?
20        A.    Yes.    When they can do the -- when they can do
21   the non-acute -- when they say, "He can have his
22   blanket.    He can have this."        You still sitting there
23   -- you still sitting there with him, but he can have
24   some of his stuff.
25        Q.    But that's still a form of suicide watch?


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 1         CONFIDENTIAL
          A.    Yes.
                                                                      Page 59


 2        Q.    Is there ever a situation where medical
 3   authorized a property restriction while the inmate was
 4   housed in camp support?
 5        A.    No, sir.      Medical don't -- that's a security
 6   situation because that's a security issue.                  Because --
 7   the way they describe it here is this is a mental
 8   health facility.
 9        So before we go any type of use of force, any
10   planned use of force on an inmate, I have to go
11   through the planned use of force procedures.
12        That procedure is to get a mental health provider
13   down there so they can lay eyes on him in a mental
14   health capacity.
15        Once they lay eyes on him in a mental health
16   capacity and they do whatever conversation -- whatever
17   they do with the inmate, they're going to turn to me
18   and say, "Major McClinton or Captain McClinton, this
19   is a true mental health incident; therefore, do not
20   proceed with use of force," and I will stand down.
21        But if they turn to me and say, "Major McClinton,
22   this is not a mental health issue; this is a
23   behavioral issue.        Proceed with your planned use of
24   force," and we'll proceed with the planned use of
25   force.


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 1        Q. CONFIDENTIAL
                 Okay.    So in camp support, a bed sheet could
                                                                         Page 60


 2   be taken away because of a security-based property
 3   restriction; is that right?
 4        A.     We just wouldn't take the bed sheet.                We'll
 5   take all his property.
 6        Q.     In addition to everything else.
 7        A.     Yeah.
 8        Q.     But property isn't taken away in camp support
 9   because of a mental health recommendation?                   That
10   doesn't happen in camp support?
11        A.     If the mental heath -- no, no, sir.                Because
12   if mental health going to say he's a one-on-one, he
13   needs to be transported to medical.
14        Q.     Then he's in medical on suicide watch?
15        A.     Then he's in medical stuff.           Yes, sir, so
16   that's correct.
17        Q.     Is there a video camera that is on camp
18   support?
19        A.     We have a camera system called Pelco.                It's on
20   everywhere we go.        It's just not in here.             It's not in
21   here.     It's not in the restrooms.
22        Q.     Is it monitored?
23        A.     Pelco, being if we had to go pull some
24   footage, we could go back on a date and time and pull
25   that particular footage.         Just someone sitting down,


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 1          CONFIDENTIAL
          And when I go say, "Hey," I expect to get some
                                                                       Page 79


 2   type of response from the inmate.
 3        Now, a lot of times -- I remember it being early,
 4   too.    A lot of times when you wake the inmate up and
 5   he doesn't want to get up, he's going to say something
 6   derogatory.      I don't want to say it on tape; we have a
 7   female in here.          He's going to say something
 8   derogatory or inappropriate, profanity, but that's
 9   letting me know he's alive and well, just don't want
10   to be bothered.
11        So I called for him again.             I didn't get no
12   answer.     At that time, I bent down and pulled the tray
13   slider and looked.          My words, "Man, what the hell
14   going" -- and I looked.          "Oh, wow.       Wait a minute.
15   Medical assistance camp support.              Medical assistance
16   camp support.      I need somebody in camp support."
17        At that time, when I called "medical assistance
18   camp support," the captain's calling for medical
19   assistance.      He had come up.       Here come a bombardment
20   of people coming in say, "Hey, Captain.                 What's going
21   on?"
22        "We got to get this guy out.             Something's going
23   on."
24        At that time, Lieutenant Ray, Sergeant Robinson, a
25   couple of people from medical, couple other people


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 1   there. CONFIDENTIAL
               Access the door, go in there.            I say, "Holy
                                                                     Page 80


 2   crap."    I looked up.      He had something around his neck
 3   like he was attempting to sit, but the ligature was
 4   too short for him to sit down, so he just plopped
 5   there until he passed.
 6        But we expeditiously got him down.              Once we got
 7   him down we -- because the gurney, stretcher all that
 8   was coming -- all that was there.            Got him down, got
 9   him on the -- this all within like a minute or so.
10   That's how fast it was.
11        Q.     A minute from when to when?
12        A.     I want to say at least a minute from the time
13   I called for help, we had him -- got in -- you know,
14   when you're doing this, minutes seem like hours
15   because you're there, you know.
16        You know, we can always armchair quarterback it
17   when you're not there, but when you're there, the
18   adrenaline is pumping.
19        And we get him there, and I remember the nurse
20   doing CPR.     We doing this; we doing this.
21        "Everything's going to be okay.            Everything's
22   going to be okay.        Just hang in there."
23        He was unresponsive, but we still talk to them,
24   trying to -- try to keep people calm.
25        They was pumping on his chest, you know.                They got


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 1          CONFIDENTIAL
     him to medical.          They continued to pump on his chest
                                                                      Page 81


 2   and everything.
 3        The doctor called in -- when we've got somebody
 4   that's unresponsive, we always call 911.                 Got him in
 5   there, and they're working on him and all this stuff.
 6   I can't remember the actual time, but they called the
 7   actual death.
 8        I don't know if the paramedics had got here, but
 9   they called it.
10        Okay, but now what stands out the most in my mind
11   is Dr. Arnold, who's the medical doctor.                 You know,
12   he's doing this stuff.          He coming doing his final
13   assessment.      And by me being a previous investigator,
14   my background -- it's why I love it so much.                  I know
15   certain things you need to get right away.
16        I asked -- say, "Can we get a -- can we get a core
17   temperature?      What's his temperature?"
18        And Dr. Arnold, he kind of think -- he sort of
19   think the way I think about it.
20        And when Dr. Arnold took his -- because I
21   inadvertently said it.          "Hey, let's make sure we get a
22   temperature on him," you know.
23        When they got his temperature, his core
24   temperature was 96 something -- 96 something.                   And
25   Dr. Arnold said to me, "Hey, I don't want you to beat


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 1          CONFIDENTIAL
     yourself up now."
                                                                     Page 82


 2        I said, "Why would you say that, Doc?"
 3        He say, "In my medical professional opinion, if
 4   you could have been at least 2, 3 minutes earlier, you
 5   possibly could have saved him."
 6        And I can just go, "Wow."
 7        But then I -- then you start backtracking your
 8   steps saying maybe I didn't need that soda.                 Maybe I
 9   didn't need to go talk to the warden.              Maybe I didn't
10   -- but then I -- but then I answered my own question.
11        If I didn't do that and went straight to the
12   office, I would have passed right past the nurse, and
13   it ain't no telling how long it would have been there,
14   or they would have found him when they came in.
15        So you have to recap, "What did I do wrong?"
16        Q.     Yeah.
17        A.     And I'm like maybe I shouldn't have got that
18   damn soda.     Maybe I should have did this; maybe I
19   should have did that.         But then that's why he told me,
20   "Don't beat yourself up."
21        I don't want to sound crazy or nothing like this,
22   you know.
23        Q.     Yeah.
24        A.     I mean, we have to live with this.              I
25   understand somebody lost a loved one, but, you know,


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 1        Q. CONFIDENTIAL
                 -- at a different cell?
                                                                    Page 110


 2        A.     You're right; you're right.           Exactly right.
 3   So there's a possibility that that could have been his
 4   cell.
 5        Q.     Okay.    And so do you actually see that you
 6   called medical assistance from --
 7        A.     I picked --
 8        Q.     -- 11:23 --
 9        A.     I picked the phone up and called, yes.               I
10   picked up the phone -- I picked up the -- I picked up
11   the radio and called, not phone but radio.
12        Q.     So at that point, you were on the phone with
13   medical assistance.
14        A.     I'm on the radio.
15        Q.     On the radio.
16        A.     I'm on the handheld.
17        Q.     Why did you see the need to call for medical
18   assistance?
19        A.     Because at that point, I realized he might not
20   be playing.      And at the same time, even when we do
21   call medical assistance, they still not going to
22   access the door until people -- backup get there.
23        Q.     Is that always true?
24        A.     Oh, yes, that's -- that's the protocol.
25   That's what should happen.


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 1        Q.CONFIDENTIAL
                 So the protocol is if you have two people, and
                                                                     Page 111


 2   you see Jeremy Russell needing medical assistance,
 3   you're not going to open that door until backup gets
 4   there?
 5        A.     Yes.    I'm going to wait on -- I'm going to
 6   wait on backup.          Backup has to be there because he
 7   could be playing.          He could be --
 8        And we done had inmates here in the past to play
 9   like that.
10        We had one inmate that he had faked his own
11   hanging and had people think he was hanging.                  And when
12   the door came open, guess who was standing on the
13   ground ready -- ready to fight?             The inmate.
14        And a lot of lessons you get in the prison, it's a
15   bought lesson.       You're going to have to eat them licks
16   to face it.      To say, okay, I have to make a decision.
17   Am I fixing to put myself in harm's way, or I'm fixing
18   to try to be a hero, or do I need to wait for that
19   backup?
20        Q.     So even if he had been -- even if it looked
21   like he was hanging at that point, you would have
22   waited for backup?
23        A.     If I would have saw -- that's -- that's what
24   the protocol says.          That's what the protocol says.
25        Q.     Okay.    So at 11:23:17, it's pretty visible


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 1        A. CONFIDENTIAL
                 The scanner is a better way to do it.
                                                                    Page 146


 2   BY MR. BRAGG:
 3        Q.     So why do they do a strip search, if you know?
 4        A.     Well, that's the part -- that's what they have
 5   in place here.
 6        Q.     Why don't they add a scanner over to that
 7   area?
 8        A.     You're asking me to speculate on why somebody
 9   don't want to -- I'm not comfortable to answer the
10   question why they won't do it.
11        Q.     Are you aware of any employee of MTC being
12   disciplined for bringing in illegal narcotics?
13             MR. GARNER:      Object to the form.          Can you
14   narrow it?     I mean, ever?
15   BY MR. BRAGG:
16        Q.     Well, since the time you've been here in 2019.
17        A.     Oh, they -- they come through here with drugs
18   all the time, and they get -- and they get prosecuted.
19        Q.     Employees do; is that right?
20        A.     Oh, yes, sir.      They -- they -- once they get
21   caught, Lauderdale County Sheriff comes, gets them up,
22   and the warden makes sure they walk out of here with a
23   silver bracelet on, with their hands behind their
24   back.
25        Q.     Have there been any this year?            We're just in


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